               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA              :
                                      :
                v.                    :      1:22CR75
                                      :
DARIUS RAYSHAUN KING et al.           :

    MOTION TO CONTINUE JURY TRIAL AND DESIGNATE THE
           INSTANT MATTER AS A COMPLEX CASE

     NOW COMES the United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina,

John M. Alsup, Assistant United States Attorney, Christina Taylor and

Matthew Mattis, Trial Attorneys, and defendants [1] DARIUS RAYSHAUN

KING, a.k.a. “Diddo,” a.k.a. “Ditto,” a.k.a. “LB,” a.k.a. “Lightbread,” a.k.a

“Quixk,” [2] JHUSTYN KELVIN MITCHELL, a.k.a. “J-West,” a.k.a. “Big

Wixked,” [3] RICKY ALLEN WILLIAMS, a.k.a. “Raw,” [4] JACKII

DEMETRIUSS FLOYD, a.k.a. “Boss,” [5] SAQUAN LANARD ROUSE, a.k.a.

“SQ,” a.k.a. “Playdoe,” [10] JEREMY WAYNE HASTY, a.k.a. “Seno,” a.k.a.

“Seno2x,” [11] JOSEPH MORANT TISDALE, a.k.a. “Jody,” a.k.a. “Jody

Wixked,” [12] ROBERT LEE TOWNSEND, JR., a.k.a. “Jeezy,” and [13]

TERRANCE GERNADO COLEMAN a.k.a “T-Ruger” a.k.a “Little T,” by and

through their counsel, request that the Court grant a continuance of the jury




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trial date in the above-captioned matter and designate the matter as a complex

case.

        At this time, defendants [6] KENNETH MALIK WISE, a.k.a. “KG,”

a.k.a. “Kenny,” a.k.a. “Big Psyxho,” [7] BRANDON DONTE TIPPS, a.k.a.

“Tipps,” and, [9] JALEN RASHAD FORD, a.k.a. “Pronto,” by and through

counsel, object to the complex case designation. Defendant [8] JAQUAN

WILLIAMS-CLARK, a.k.a. “Jay Jay,” a.k.a. “JJ,” a.k.a. “Psyxho Jay,” a.k.a.

“Psykho Jay,” has not been arraigned or appointed counsel. There remains one

defendant, [14] Sealed, who has not yet been arrested. The same body of

enterprise and conspiracy evidence applies to him in relation to the crimes he

is charged with in the Indictment. As to all parties, for the reasons further

detailed below, designation of this matter as a complex case warrants tolling

of the ordinary speedy trial time.

        A. PROCEDURAL HISTORY

        1.   On March 21, 2022, the grand jury returned an Indictment in case

number 1:22CR75, charging defendants [1]-[12] with Racketeering Influenced

and Corrupt Organizations (RICO) Conspiracy, in violation of Title 18, United

States Code, Section 1962(d) (Count One). The same defendants, along with

[13] TERRANCE GERNADO COLEMAN, are charged in a Conspiracy to

Distribute Narcotics, in violation of Title 21, United States Code, Section 846

(Count Two). [5] ROUSE is separately charged with Attempted Murder in Aid

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of Racketeering, in violation of Title 18, United States Code, Sections

1959(a)(5) (Count Six), and a related Title 18, United States Code, Section

924(c)(1)(A)(iii) discharge violation (Count Seven). [8] WILLIAMS-CLARK is

also separately charged with violations under Title 18, United States Code,

Sections 922(o), 924(c)(1)(A), 924(c)(1)(B)(iii) related to his alleged possession

of a machinegun (Counts Ten and Twelve).

      2.    Defendants [1] KING, [3] WILLIAMS, [4] FLOYD, [5] ROUSE, [6]

WISE, [7] TIPPS, [9] FORD, [10] HASTEY, [11] TISDALE, and [12]

TOWNSEND, have been arraigned on the Indictment and entered pleas of Not

Guilty. Defendants [2] MITCHELL and [13] COLEMAN are presently serving

sentences in the Bureau of Prisons (“BOP”) and have not been arraigned. They

await transport on BOP Orders to Produce. According to open-source BOP

records, [2] MITCHELL is scheduled for release from FCI Beckley on or about

October 13, 2022 and [13] COLEMAN is scheduled to be released from FCI

Butner Medium II on or about March 17, 2024. Defendant [8] WILLIAMS-

CLARK is presently in state (local) custody and expected for arraignment in

short order. One defendant, whose name remains sealed, has yet to be arrested.

Consistent with the ordinary practice, the defendants arraigned in late-March

and early-April of 2022, would be set for disposition during the May 2022

Criminal Term of Court.



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      3.    The nature of the Indictment in this case is unusually complex. It

is the result of an investigation spanning approximately six years and

conducted by multiple federal agencies across the country with assistance from

multiple state and local law enforcement agencies. Broadly, the Indictment

charges a RICO conspiracy that involves leaders, members, and associates of

the United Blood Nation, Nine-Trey Gangsters, Quixk Nation/Quixk Money

Gang and covers conduct that occurred throughout the Middle District of North

Carolina, as well as nationally. As alleged in the Indictment, the conduct

covers approximately ten years of criminal activity, including, but not limited

to, murder, attempted murder, drug trafficking, aggravated assaults, witness

tampering, and unlawful possession of firearms.

      4.    As a result of the complex nature of the case, discovery is

voluminous and includes, but is not limited to, investigative reports from both

federal and state agencies spanning approximately a decade, materials

obtained through Grand Jury subpoenas (including voluminous financial

records), search warrants, electronic surveillance (pole cameras and a

consensual wiretap), downloads of entire social media accounts belonging to

QN/QMG members/associates, court documents, transcripts and recordings of

proactive law enforcement operations, voluminous body worn camera

data/videos, reports of various forensic examinations, including forensic



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chemistry, medical examinations, and ballistics, and thousands of pages of

witness statements and other Jencks material.

      5.     The discovery package of Overt Acts alleged specifically in the

Indictment, which consists of Rule 16 redacted documents, reports, body-worn

camera footage, and photographs [to the extent these items do not involve

potential witnesses/cooperators/informants or are strictly Jencks material]

includes approximately 724 gigabytes of data. While the government is in the

process of organizing and producing discovery to defense counsel for each of

the defendants, the defendants will require substantial time in order to

thoroughly    review    the   discovery,       conduct   any   necessary   follow-up

investigation, visit the United States Attorney’s Office to view material subject

to any protective order, and thereafter, apprise their clients of the nature of

the evidence against them. Only then would any defense counsel, even working

in tandem with others, be able to research, prepare, and file any necessary

pretrial motions. 1

      6.     Moreover, certain defendants – [2] MITCHELL, [3] WILLIAMS

and [6] WISE – are charged in Count One with a § 1962(d) RICO conspiracy




1 After further consultation with all the defense attorneys involved in this matter,
the government anticipates filing a motion for a “Protective Order and Request to
Delay Production of Jenks Material.” That motion will outline the various issues with
discovery in more detail and the reasons for the government’s various requests that
are unique to a matter of this complexity and the crimes charged.
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murder in the Indictment. In accordance with United States Department of

Justice death penalty protocol processes, the government anticipates

delivering a memo to DOJ’s Capital Case Unit on or before May 2, 2022.

      7.    The government respectfully requests that the Court continue the

trial in this matter to the January 2023 Criminal Term of Court, or to such

later date as approved by the Court. The government anticipates that trial will

last approximately six to eight weeks, depending on the number of defendants

involved and the evidence relevant to those defendants.

      8.    Under the Speedy Trial Act, a defendant must generally be

brought to trial within seventy days of his initial appearance or the making

public of the indictment, whichever last occurs. However, certain time periods

are excluded from this calculation, including the pendency of any pretrial

motion (from its filing through the hearing or ruling on the motion), 18 U.S.C.

§ 3161(h)(l)(D), as well as any delay resulting from a continuance granted in

furtherance of the “ends of justice,” 18 U.S.C. § 3161(h)(7)(A); see also Bloate v.

United States, 558 U.S. 196, 214 (2010) (subsection (h)(7) provides “‘[m]uch of

the Act’s flexibility’ and gives district courts ‘discretion-within limits and

subject to specific procedures-to accommodate limited delays for case-specific

needs’”) (quoting Zedner v. United States, 547 U.S. 489, 499 (2006)). The

Speedy Trial Act makes excludable a “reasonable period of delay when the

defendant is joined for trial with a codefendant as to whom the time for trial

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has not run and no motion for severance has been granted.” 18 U.S.C. §

3161(h)(6).

      9.      In determining whether to grant a continuance under 18 U.S.C. §

3161(h)(7)(A), the Speedy Trial Act directs the Court to consider, among other

factors: (i) whether failing to grant a continuance “would be likely to make a

continuation of such proceeding impossible, or result in a miscarriage of

justice” (18 U.S.C. § 3161(h)(7)(B)(i)); and (ii) whether the case “is so unusual

or so complex, due to the number of defendants, the nature of the prosecution,

or the existence of novel questions of fact or law, that it is unreasonable to

expect adequate preparation for pretrial proceedings or for the trial itself

within” seventy days (18 U.S.C. § 3161(h)(7)(B)(ii)).

      10.     For the foregoing reasons, given the number of defendants, the

volume of discovery, and the charges alleged “it is unreasonable to expect

adequate preparation for pretrial proceedings or for the trial itself within the

[ordinary] time limits established by” the Speedy Trial Act. 18 U.S.C.

(h)(7)(B)(ii); see United States v. Reyes-Canales, No. CR JKB-17-589, 2020 WL

1955578, at *1 (D. Md. Apr. 23, 2020) (excluding time based on complexity of

case that charged “racketeering activity, including conspiracy to commit

murder and two counts of attempted murder”). Without government objection,

the defendants have moved to for the Court appoint a discovery coordinator, a

motion the Court is still considering. (See Dkt. ##94, 101.) Aside from

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discovery, potentially complicated and voluminous motions are anticipated,

thereby requiring additional time for the parties to research applicable law and

respond. Additionally, the Court may have to review, consider, and rule on all

such motions and responses. This will ensure that any motions are heard and

decided in a timely organized fashion and that the evidence is presented to a

jury without unnecessary and time-consuming delays. See 18 U.S.C. §

3161(h)(7)(B)(i)-(ii).

         11.   Accordingly, and in accordance with the complex case designation,

the government requests that the Court exclude all time between the date of

arraignment for each defendant and the filing of pre-trial motions, for purposes

of Speedy Trial calculations, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

(h)(7)(B)(i)-(ii). The exclusion is appropriate because of the nature and

complexity of the prosecution. The ends of justice served by this exclusion of

time outweigh the interest that the public and the defendants have in a speedy

trial.

         12.   Therefore, the government respectfully requests that this Court

certify this cause as a complex case, therefore tolling the time limits under the

Speedy Trial Act, 18 U.S.C. § 3161, and issue a scheduling order reflecting a

trial date as it may deem appropriate.

         13.   A severance has not been granted, and the speedy trial time should

be tolled pursuant to 18 U.S.C. § 3161(h)(6).

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      14.   Counsel for the United States has discussed this motion with

counsel for each defendant, as indicated above. Counsels for defendants

[1] KING, [2] MITCHELL, [3] WILLIAMS, [4] FLOYD, [5] ROUSE, [10]

HASTEY, [11] TISDALE, [12] TOWNSEND, and [13] COLEMAN, do not object

to filing of this motion or the relief requested herein. Counsels for defendants

[6] WISE, [7] TIPPS, and [9] FORD, have indicated that their clients object to

the complex case designation and tolling of speedy trial time.

      15.   To the extent there are any issues related to relief requested herein

or with the proposed discovery process, the parties request that the Court hold

a status conference during the May or June 2022 Criminal Term of Court.

      WHEREFORE, for the reasons above, the parties respectfully request

that the Court certify the instant matter as a complex case pursuant to 18

U.S.C. § 3161(h)(7)(B)(ii), continue the trial date to the January 2023 Criminal

Term of Court (or later) and exclude the computation of time under the Speedy

Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(i)-(ii).




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This the 18th day of April, 2022.


                              Respectfully Submitted,


                              SANDRA J. HAIRSTON
                              UNITED STATES ATTORNEY




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                              /S/ CHRISTINA TAYLOR
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                              Organized Crime and Gang Section




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               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA               :
                                       :
                v.                     :       1:22CR75-1
                                       :
DARIUS RAYSHAUN KING et al.            :

                        CERTIFICATE OF SERVICE
      I hereby certify that on April 18, 2022, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system, and I hereby certify

that the document was mailed to the following non-CM/ECF participants:


      Aaron B. Wellman, Esq.                    Brian M. Aus, Esq.
      Christopher R. Clifton, Esq.              Michael A. Grace, Esq.
      Curtis R. High, Esq.                      Daniel D. Adams, Esq.
      Deborrah L. Newton, Esq.                  Helen L. Parsonage Esq.
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